       Case 1:23-cv-02390-AT-JKL Document 6 Filed 08/17/23 Page 1 of 2




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


 DAVID ANDREW BERO,

                 Plaintiff,

  v.                                                    CIVIL ACTION NO.

                                                     1:23-cv-02390-AT-JKL
 EQUIFAX INFORMATION
 SERVICES, LLC; and LEXISNEXIS
 RISK SOLUTIONS, INC.,

                 Defendants



To Joseph P. McClelland, Esq:
I have received your request to waive service of a summons in this action along
with a copy of the complaint, two copies of this waiver form, and a prepaid means
of returning one signed copy of the form to you.
I, or the entity I represent, agree to save the expense of serving a summons and
complaint in this case.
I understand that I, or the entity I represent, will keep all defenses or objections to
the lawsuit, the court's jurisdiction, and the venue of the action, but that I waive
any objections to the absence of a summons or of service.
I also understand that I, or the entity I represent, must file and serve an answer or a
motion under Rule 12 within 60 days from August 16, 2023, the date when this
request was sent (or 90 days if it was sent outside the United States). If I fail to do
so, a default judgment will be entered against me or the entity I represent.
Date: ___________
      8/16/2023
___________________________
(Signature of the attorney or unrepresented party)
       Case 1:23-cv-02390-AT-JKL Document 6 Filed 08/17/23 Page 2 of 2




___________________________

Eric Barton
Bar No. 040704
ebarton@seyfarth.com
SEYFARTH SHAW LLP
1075 Peachtree Street, N.E.
Suite 2500
Atlanta, Georgia 30309-3958
Telephone: (404) 885-1500
Facsimile: (404) 892-7056

Attorney for Defendant
Equifax Information Services LLC




         Duty to Avoid Unnecessary Expenses of Serving a Summons
Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to
cooperate in saving unnecessary expenses of serving a summons and complaint. A
defendant who is located in the United States and who fails to return a signed
waiver of service requested by a plaintiff located in the United States will be
required to pay the expenses of service, unless the defendant shows good cause for
the failure.
“Good cause” does not include a belief that the lawsuit is groundless, or that it has
been brought in an improper venue, or that the court has no jurisdiction over this
matter or over the defendant or the defendant's property.
If the waiver is signed and returned, you can still make these and all other defenses
and objections, but you cannot object to the absence of a summons or of service.
If you waive service, then you must, within the time specified on the waiver form,
serve an answer or a motion under Rule 12 on the plaintiff and file a copy with the
court. By signing and returning the waiver form, you are allowed more time to
respond than if a summons had been served.
